AO 440 (Rey, 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Western District of Missouri

 

 

Laura Love )

)

)

)

Plaintiffis) )
v. : Civil Action No. 4:18-cv-00597

Miller Stark Klein and Associates )

)

)

)

Defendant(s) )

SUMMONS IN A CIVIL ACTION

. ' Miller Stark Klein & Associates
TO: (Defendant's name and addr) ort waccullough Dr. Suite 400
Charlotte, NC 28262

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it} — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ,
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of

the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Laura Love
* C/O Anthony Hemandez
Credit Law Center

4041 NE Lakewood Way
Lee's Summit, MC 64108

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK-OF CQURT *
«i iy : | eee -

fey
a

   
  

nate, AUg 06, 2018

 

"ag gy for te gr
Metric of ¢

Case 4:18-cv-00597-GAF Document 3 Filed 10/18/18 Page 1 of 2

 
AO 440 (Rey. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 4:18-cv-00597

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed. R. Civ. P. 4 (1)

This summons for (name of individual and title, ifany) Me Stele K lew + Axcec
was received by me on (daie) 10 Pe [ (Ss ;

ST personally served the summons on the individual at (place)

on (date) 3 or

 

 

C7) I left the summons at the individual’s residence or usual place of abode with (name)
, a person of suitable age and discretion who resides there,

 

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or
(Rapes the summons on (name of individual) MN, role. &. Fh bor : who is
—~designated by law to accept service of process on behalf of (name of organization) M4. Me- Sfenke
Kleine Aesoc. 201 Me Colle Cdr. on (date) (&/ii/ 1h ; OF
‘ #Y OU
1 | returned the summons unexecuted because ; or

 

A Other (specif):

1S oe
My fees are $ Q for travel and § “) S = for services, for a total of $ 0.00 :

I declare under penalty of perjury that this information is true,

| - <—V/. , a
Date; [Opie ZO Con
Sever 's signature

fe ccd Prene. BE Pre Cece fesve-
Printed name and title

  
 

Ylbo CARMmMEe Cc @N\ 8277 CHARLOTTE tc
Server ’s address IEeR g

Additional information regarding attempted service, etc:

Case 4:18-cv-00597-GAF Document 3 Filed 10/18/18 Page 2 of 2

 

 
